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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL IMMIGRATION LAW CENTER,

                        Plaintiff,

            v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,                                 Civil Action No.

and

UNITED STATES IMMIGRATION AND
CUSTOMS ENFORCEMENT,

                        Defendants.


                          COMPLAINT FOR INJUNCTIVE RELIEF

       1.        Plaintiff National Immigration Law Center (“NILC”) brings this action under the

Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, et seq., for injunctive and other

appropriate relief to compel the prompt disclosure and release of documents from Defendants

U.S. Department of Homeland Security (“DHS”) and DHS’s component agency, U.S.

Immigration and Customs Enforcement (“ICE”) (collectively, “Defendants”).

       2.        On December 7, 2018, NILC submitted a FOIA request (the “Request”) to DHS

and ICE seeking specific information related to the identities of all ICE, Homeland Security

Investigations (“HSI”), or other DHS personnel who were physically present during a worksite

enforcement operation conducted on April 5, 2018 at Southeastern Provision, located at 1617

Helton Road, Bean Station, Tennessee (the “Raid”).

       3.        More than three months have passed since NILC submitted the Request, and more

than two months have passed since the standard 20-day business day response period under 5
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U.S.C. § 552(a)(6)(A)(i). To date, Defendants have failed to produce a single document in

response to the Request and, other than DHS acknowledging receipt of the Request and

simultaneously “transferring” the Request to the ICE FOIA Office, have not communicated with

NILC regarding the status of that Request. In short, Defendants have wholly failed to comply

with their obligations under FOIA. NILC files this lawsuit to seek expedited production, on or

before April 2, 2019, of the documents and information it seeks.

                                             PARTIES

          4.      Plaintiff NILC is a nonprofit legal advocacy organization that engages in policy

analysis, advocacy, education, and litigation to promote and advance the rights of low-income

immigrants and their families. NILC serves as an important resource to a broad range of

immigrant advocacy groups, community organizations, legal service organizations, and the

public. As a part of its work, NILC actively engages with and disseminates information to the

public through trainings and other education and information materials.         It also represents

individuals who have experienced violations of their constitutional rights. NILC submitted the

Request that is the subject of this action and is a “person” within the meaning of 5 U.S.C. §

551(2).

          5.      Defendant DHS is an “agency” within the meaning of 5 U.S.C. § 552(f)(1). DHS

is the executive department responsible for enforcing federal immigration laws and is an agency

of the United States. On information and belief, DHS (whether for itself or via a component

agency, such as ICE) has possession of and control over the documents and information

requested by NILC under the FOIA.

          6.      Defendant ICE is a component agency of DHS and an “agency” within the

meaning of 5 U.S.C. § 552(f)(1). ICE is the component agency of DHS responsible for the




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enforcement of federal laws governing border control, customs and immigration.                     On

information and belief, ICE (whether for itself or via a subcomponent, such as HSI) has

possession of and control over the documents and information requested by NILC under the

FOIA.

                                 JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1346. This Court also has both subject matter jurisdiction over this action and personal

jurisdiction over the parties pursuant to 5 U.S.C. § 552(a)(4)(B).

        8.      This Court also has personal jurisdiction over each of the Defendants because

each Defendant is conducting business and maintaining operations in this District.

        9.      Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B), which

provides for the hearing of FOIA cases in, among other proper venues, the district in which

responsive records may be found and in the District of Columbia.

        10.     Injunctive relief is proper under 28 U.S.C. § 2202 and 5 U.S.C. § 552(a)(4)(B).

                                 STATUTORY FRAMEWORK

        11.     Any member of the public may request records from an agency of the United

States under FOIA. Under 5 U.S.C. § 552(a)(6)(A)(i), an agency that receives a FOIA request

must respond in writing to the requestor within 20 business days after receipt of the request,

excluding legal public holidays. According to this provision of FOIA, in its response, the agency

must: inform the requestor as to whether it intends to comply with the request; provide reasons

for its determination; and inform the requestor of its right to appeal the determination.

        12.     Under 5 U.S.C. § 552(a)(6)(B)(i), FOIA provides for an extension of this deadline

“[i]n unusual circumstances” but limits this extension to “ten working days.”               Under this




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provision, such extension requires the agency to provide written notice to the person making the

FOIA request setting forth the unusual circumstances for such extension and the date on which a

determination is expected to be dispatched.

          13.   While there is not statutory guidance on whether a government shutdown would

count as “unusual circumstances,” the Department of Justice’s Handbook for Agency Annual

Freedom of Information Act Reports (the “Handbook”) suggests that it would not. On page nine,

the Handbook directs that “even where an entire agency FOIA office is closed due to weather

conditions, furloughed employees, or other circumstances, the agency must count those days for

reporting purposes.” A copy of the Handbook is attached as Exhibit A to this Complaint.

          14.   Under 5 U.S.C. § 552(a)(6)(C)(i), a FOIA requestor is deemed to have exhausted

all administrative remedies if the agency fails to comply with the request within statutory time

limits.

          15.   Under 5 U.S.C. § 552 (a)(3)(C), the FOIA requires an agency to make a

reasonable search for responsive records.      Similarly, under 5 U.S.C. §§ 552(a)(3)(A) and

552(b)(1)-(9), the FOIA requires an agency to disclose in a timely manner, in response to a FOIA

request, all records that do not fall within nine narrowly construed statutory exemptions.

          16.   Under 5 U.S.C. § 552(a)(6)(E), expedited processing should be provided for a

person who demonstrates a “compelling need” for the records.

          17.   Under 5 U.S.C. § 552(a)(4)(B), upon a requestor’s complaint, a district court has

jurisdiction to enjoin an agency from withholding records and to order production of records

subject to disclosure. 5 U.S.C. § 552(a)(4)(B).




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                                  FACTUAL BACKGROUND

         18.    On April 5, 2018, in a calculated, militaristic fashion, armed officers from several

agencies, including ICE and HSI (the “Officers”), descended on a meatpacking plant in Bean

Station, Tennessee. The Officers were not searching for terrorists, armed criminals, or violent

felons. Rather, they were assisting with the execution of an IRS search warrant for financial

documents related to the alleged crimes of the plant’s owner, James Brantley. In an intricately

planned operation, the Officers ignored the scope of the IRS warrant and executed the largest

workplace immigration raid in nearly a decade, seizing and arresting approximately one hundred

Latino workers. The Officers physically and verbally abused the Latino workers. The plant’s

Caucasian workers, however, were not subjected to the same treatment. Only eleven of the

approximately one hundred workers who were unlawfully detained were ultimately charged with

any crime, and of those, none were charged with a violent crime.

         19.    On February 21, 2019, seven individuals arrested in the Raid,1 individually and on

behalf of themselves and a class of similarly situated workers, filed a Complaint against several

named Officers and Doe Defendants 1-30 to defend and vindicate their rights under the Fourth

and Fifth Amendments to the U.S. Constitution. Plaintiffs’ claims are being brought against the

individual defendants under the Bivens doctrine, which is a remedy for when a federal officer

violates the Constitution while acting under color of federal authority. This litigation is currently

pending in Case No. 3:19-cv-00062 in the United States District Court for the Eastern District of

Tennessee, Knoxville Division (the “Raid Litigation”). NILC, along with attorneys from the

Southern Poverty Law Center and other pro bono attorneys, represents plaintiffs in the Raid




1
    Isabel Zelaya, Geronimo Guerrero, Carolina Romulo Mendoza, Luis Bautista Martínez, Martha
     Pulido, Maria del Pilar Gonzalez Cruz, and Catarino Zapote Hernández.


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Litigation. A copy of the complaint filed in the Raid Litigation is attached as Exhibit B to this

Complaint.

         20.     Despite multiple efforts2 directed towards gaining information as to the identity

and service-of-process-related information of the Doe Defendant Officers who participated in the

Raid, the agencies have stonewalled NILC. This information is needed immediately because

without it the Doe Defendants will not be identified and individually named in the Raid

Litigation prior to April 5, 2019, the one-year anniversary of the Raid. As a result, NILC expects

that the government, on behalf of the Doe Defendants, will claim that the one-year statute of

limitations has expired and they can no longer be compelled to defend their actions. NILC

believes that any such argument is wrong as a matter of law. Nevertheless, without expedited




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    NILC originally filed an expedited FOIA request with DHS and ICE on April 10, 2018
    (“Original Request”). This Original Request was broad in scope and sought “[a]ll records
    compiled or prepared by ICE or HIS . . . pertaining to the worksite enforcement operation”
    along with other requests for communications and correspondence of the agencies involved. A
    copy of the Original Request is attached as Exhibit C to this Complaint. The Original Request
    was acknowledged by ICE, via email, by letters dated May 8, 2018 and May 11, 2018—over
    21 days later and, thus, in violation of 5 U.S.C. § 552(a)(6)(A)(i), and assigned ICE FOIA Case
    Number 2018-ICFO-34183 and ICE FOIA Case Number 2018-ICFO-35188, respectively. A
    copy of the May 8 email is attached as Exhibit D, and a copy of the May 11 email is attached
    as Exhibit E to this Complaint. NILC received no communications from DHS. On June 5,
    2018, ICE sent a “final response” letter notifying NILC that it was withholding all documents,
    claiming an exemption under 5 U.S.C. § 552(b)(7)(A). NILC then sent the more narrowly
    tailored Request in December 2018 that is the subject of this litigation. Because ICE’s June 5,
    2018 letter response was a “final response,” related to the Original Request, ICE FOIA Case
    Number 2018-ICFO-34183, NILC believes that it has no bearing on the Request that is the
    subject of this litigation. A copy of the final response letter is attached as Exhibit F to this
    Complaint. NILC has also attempted to compel defendants in the Raid Litigation to produce
    the requested information in discovery. A copy of the Motion for Leave to Take Expedited
    Discovery is attached as Exhibit G to this Complaint. Defendants have opposed the
    motion. A copy of the Response is attached as Exhibit H to this Complaint. NILC has also
    attempted to gain the requested information by serving a subpoena in the Raid Litigation to
    DHS. A copy of the subpoena is attached as Exhibit I to this Complaint.




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production of this information, plaintiffs in the Raid Litigation may be unable to protect their

constitutional rights.

         21.    The government’s tactic is clear: delay until it can argue that the statute of

limitations has expired. Defendants should not be allowed to drag their feet in an attempt to try

to gain an advantage (however wrong as a matter of law) in the Raid Litigation. Moreover, there

can be no dispute that NILC is entitled to the information under FOIA.

                                       THE FOIA REQUEST

         22.    On December 7, 2018, NILC submitted the Request to DHS and ICE by fax. The

Request, assigned FOIA Number 2019-HQFO-00214, was narrow, targeted and detailed. It

seeks records related to ascertaining the identities of all ICE, HSI, or other DHS personnel

physically present during the Raid on Southeastern Provision located at 1617 Helton Road, Bean

Station, Tennessee on April 5, 2018. A copy of the Request is attached as Exhibit J to this

Complaint.

         23.    Specifically, NILC’s Request seeks:

                    The identities of all ICE, HSI or other Department of Homeland
                    Security personnel physically present during the above-referenced
                    Raid, including, but not limited to:
                       a) Full name;
                       b) Rank or official title; and
                       c) Office location.

         24.    NILC requested a waiver of all fees for the Request pursuant to 5 U.S.C. §

552(a)(4)(A) because disclosure of the requested information was in the public interest and not in

NILC’s commercial interest. Numerous news accounts reflect the strong and sustained public

interest in the records NILC seeks.3


3
    See “ICE Raids Meatpacking Plant in Rural Tennessee; 97 Immigrants Arrested,” Washington
    Post   (Apr.    6,    2018),    https://www.washingtonpost.com/local/immigration/ice-raids-
    meatpacking-plant-in-rural-tennessee-more-than-95-immigrants-


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       25.    NILC also requested expedited processing pursuant to 5 U.S.C. § 552(a)(6)(E)

and 28 C.F.R. § 16.5(d)(1) because, among other reasons, any delay in receiving the records

requested would result in “‘the loss of substantial due process rights.’”4 Reports about the Raid

raised serious questions about the manner in which the worksite enforcement operation was

conducted and showed possible constitutional violations which require an immediate response to

address these violations. As described below, NILC ultimately filed litigation on behalf of the

workers subjected to the Raid.

       26.    NILC also kept records showing successful delivery of the Request on December

7, 2018, by fax to ICE and DHS. A copy of the fax to ICE is attached as Exhibit K, and a copy

of the fax to DHS is attached as Exhibit L to this Complaint.

       27.    By letter dated December 12, 2018 (the “DHS letter”), DHS acknowledged that it

had received the Request on December 11, 2018. A copy of the DHS letter is attached as

  arrested/2018/04/06/4955a79a-39a6-11e8-8fd2-
  49fe3c675a89_story.html?noredirect=on&utm_term=.2db34635d80c; “Families Wait for
  Answers After ICE Raid in Grainger County,” WBIR (Apr. 6, 2018),
  https://www.wbir.com/article/news/local/families-wait-for-answers-after-ice-raid-in-grainger-
  county/51-536062125; “Affidavit Details Alleged Worker Exploitation, Tax Fraud at Grainger
  Plant,” WBIR (Apr. 6, 2018), https://www.wbir.com/article/news/crime/affidavit-details-
  alleged-worker-exploitation-tax-fraud-at-grainger-co-plant/51-535625793;        “Large    Cash
  Withdrawals Led Federal Authorities to Grainger County Slaughterhouse,” ABC 6/WATE
  (Apr.     6,      2018),     https://www.wate.com/news/local-news/97-detained-at-grainger-co-
  slaughterhouse-following-ice-raid/1104512258; “IRS, ICE Officials Raid Grainger County
  Meat         Packing        Plant,”      Citizen      Tribune        (Apr.       6,      2018),
  https://www.citizentribune.com/news/local/irs-i-c-e-officials-raid-grainger-county-meat-
  packing/article_214bbe7e-39ba-11e8-b62c-bb1f2d394701.html; “ICE raids Grainger County
  meatpacking plant amid charges owners avoided $2.5M in payroll taxes,” Knox News (Apr. 5,
  2018), https://www.knoxnews.com/story/news/crime/2018/04/05/ice-raids-meatpacking-plant-
  grainger-county/490673002/; “97 Arrested in Immigration raid at TN Beef Plant,” Ag Web
  (Apr. 6, 2018), https://www.agweb.com/article/97-arrested-in-immigration-raid-at-tn-beef-
  plant/; “At least 50 detained in Tennessee Immigration Raid,” Mountain news/WYMT (Apr. 6,
  2018), https://www.wymt.com/content/news/478993163.html;
4
  Although NILC requested expedited review, and believes that it is entitled to expedited
  processing of its FOIA request, NILC is using the standard 20 day timeline for purposes of
  showing that Defendants did not comply with the statutory deadline. Defendants’ refusal to
  acknowledge the Request for expedition simply adds to the harm here.


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Exhibit M to this Complaint. The DHS letter assigned FOIA Number 2019-HQFO-00214 to the

Request and, due to its subject matter, transferred the Request to the FOIA Officer for ICE.

       28.     No extension under 5 U.S.C. § 552(a)(6)(B)(i) was sought by either DHS or ICE

for any “unusual circumstances” that would justify an extension.

       29.     Because NILC transmitted the Request on December 7, 2018, both DHS and ICE

were required to respond by January 7, 2019. But even if the response period did not start until

DHS acknowledged receipt on December 11, 2018, and even assuming Defendants’ response

were to be tolled during the 35-day government shutdown from December 22, 2018 to January

25, 2019, the deadline to respond would have been on or before February 11, 2019.

       30.     As of the filing of this Complaint, NILC has received no further correspondence

from DHS.

       31.     As of the filing of this Complaint, NILC has received no communication from

ICE.

       32.     As of the filing of this Complaint, neither DHS nor ICE has produced any

documents or records responsive to the Request.

       33.     Based on the foregoing, both DHS and ICE have constructively denied the

Request.

                                    CAUSES OF ACTION

       34.     NILC re-alleges and incorporates by reference all the foregoing paragraphs in this

Complaint as though fully set forth herein.

       35.     Defendants have violated FOIA, 5 U.S.C. § 552(a)(6)(A), by failing to timely

respond to NILC’s Request.

       36.     Defendants have violated FOIA, 5 U.S.C. § 552(a)(3)(C)-(D), by failing to make

reasonable efforts to search for records responsive to NILC’s Request.


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       37.      Defendants have violated FOIA, 5 U.S.C. § 552(a)(3)(A), by failing to promptly

release agency records in response to NILC’s Request.

       38.      Because Defendants have failed to comply with the FOIA time-limit provision,

NILC is deemed to have exhausted its administrative remedies under 5 U.S.C. § 552(a)(6)(C)(i).

       39.      Injunctive relief is authorized under 5 U.S.C. § 552(a)(4)(B) because Defendants

continue to improperly withhold agency records in violation of FOIA.             NILC will suffer

irreparable injury from, and have no adequate remedy at law for, Defendants’ illegal withholding

of government documents subject to NILC’s Request.


                                    PRAYER FOR RELIEF

       For these reasons, Plaintiff National Immigration Law Center asks that the Court grant

the following relief:

       a.       Enjoin Defendants and order them to immediately process and issue a

determination on the Request;

       b.       Enjoin Defendants and order them to produce, in a form that allows NILC to

reasonably and quickly ascertain the requested information, all records responsive to the Request

on or before April 2, 2019;

       c.       Award NILC its costs and reasonable attorneys’ fees incurred in this action; and

       d.       Grant such other relief as the Court may deem just and proper.




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Dated: March 26, 2019                 Respectfully submitted,


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